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United States Attorney

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Attorney for Defendant

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF ALASKA
                                 )
 EMMA NASH, as Personal          )
 Representative of the ESTATE OF )
 ELIZABETH NASH,                 ) Case No. 3:16-CV-________________
                                 )
                   Plaintiff,    ) (State Court No. 3AN-16-9482CI)
                                 )
      vs.                        )
                                 ) NOTICE OF REMOVAL
 RYAN R. GERRY, MD,              )
 SHANNON PATRICK GARITTY, )
 MD, KATHRYN A. LEWIS, RN,       )
 KIM DERR-OBERLIES, RN, and      )
 JENNIFER M. VADEN, CNA,         )
                                 )
                   Defendants.   )

      Pursuant to 28 U.S.C. § 2679(d)(2) and 28 U.S.C. § 1446, the United

States of America, through the United States Attorney’s Office, removes this

action from the Superior Court for the State of Alaska, Third Judicial District




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at Anchorage to the United States District Court for the District of Alaska.

In support of this Notice of Removal, the United States avers as follows:

I.    THE STATE COURT ACTION

      1.      On or about October 17, 2016, Plaintiff Emma Nash filed a civil

action in the Superior Court for the State of Alaska, Third Judicial District at

Anchorage, styled as Emma Nash, as Personal Representative of the Estate of

Elizabeth Nash v. Ryan R. Gerry, MD, Shannon Patrick Garitty, MD,

Kathryn A. Lewis, RN, Kim Derr-Oberlies, RN, and Jennifer M. Vaden, CNA,

Case No. 3AN-16-9482CI (the “original complaint”). A true and correct copy

of the original complaint is attached hereto as Exhibit A.

      2.      The allegations in the original complaint concern medical

malpractice tort claims. Plaintiff has alleged that the Defendants committed

medical malpractice when treating the Plaintiff’s decedent, resulting in

wrongful death and economic and non-economic injuries. Plaintiff seeks

compensatory damages for this alleged injury and losses.

II.   THE REQUIREMENTS FOR REMOVAL ARE SATISFIED

      3.      This Notice of Removal is brought under 28 U.S.C. § 2679(d)(2).

      4.      United States Attorney for the District of Alaska, Karen L.

Loeffler, has certified that, with respect to the allegations in Plaintiff’s

Complaint, defendants (1) Ryan R. Gerry, MD, (2) Kathryn A. Lewis, RN,
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(3) Kim Derr-Oberlies, RN, and (4) Jennifer M. Vaden, CNA, all were acting

within the scope of their employment with Alaska Native Tribal Health

Consortium (ANTHC) and that they are deemed entitled to coverage and

protection under the Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346(b),

2401(b), 2671-80, pursuant to ANTHC’s compact or agreement with the

federal Department of Health and Human Services under the Indian Self-

Determination and Education Assistance Act (ISDEAA), 25 U.S.C. § 450f.

The Certification is attached hereto as Exhibit B.

      5.      United States Attorney Karen L. Loeffler has further certified

that, with respect to the allegations in Plaintiff’s Complaint, (1) Ryan R.

Gerry, MD, (2) Kathryn A. Lewis, RN, (3) Kim Derr-Oberlies, RN, and

(4) Jennifer M. Vaden, CNA, all are deemed to be employees of the federal

government as they were acting within the scope of federal employment for

purposes of the FTCA, 28 U.S.C. §§ 2671-80. See Exhibit B.

      6.      28 U.S.C. § 2679(d)(2) provides: (1) that upon certification by the

Attorney General that the Defendant employee was acting within the scope of

its federal employment at the time of the incident out of which the claim

arose, any civil action or proceeding commenced upon such claim in a state

court shall be removed at any time before trial to the district court of the

United States for the district in which the action is pending; and (2) that such
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claim shall be deemed to be an action against the United States subject to the

provisions of the FTCA.

      7.      The remedy provided by the FTCA for such claim and action

against the United States is the exclusive remedy and any other civil action

or proceeding against defendants (1) Ryan R. Gerry, MD, (2) Kathryn A.

Lewis, RN, (3) Kim Derr-Oberlies, RN, or (4) Jennifer M. Vaden, CNA

involving or arising out of the same subject matter, is precluded. 28 U.S.C.

§ 2679(b)(1).

      8.      This Notice of Removal is timely filed pursuant to 28 U.S.C.

§ 2679(d)(2) (removal may occur “at any time before trial”).

      9.      Pursuant to 28 U.S.C. § 2679(d)(2), no bond is required to be filed

with this Notice of Removal.

      10.     This Court embraces the locality in which the state court action

is now pending, and thus is a proper forum pursuant to 28 U.SC. § 2679(d)(2).

      11.     No previous application has been made for the relief requested

herein.

      12.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal

is being served on all adverse parties who have appeared and filed with the

Superior Court for the State of Alaska, Third Judicial District at Anchorage.



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      13.     This Notice of Removal is being signed pursuant to Rule 11 of the

Federal Rules of Civil Procedure. See 28 U.S.C. § 1446(a).

      14.     Pursuant to Local Rule 3.1(a), a copy of the civil cover sheet is

being submitted herewith.

      15.     If any questions arise regarding the propriety of the removal of

this action, the United States respectfully requests the opportunity to present

briefing and/or oral argument in support of its position that this case is

removable.

      WHEREFORE, the Unites States respectfully requests that this Court:

      1.      Assume jurisdiction over this action as if Plaintiff Emma Nash

had originally commenced this action with this Court; and

      2.      Substitute the United States in place of all named defendants,

except Shannon Patrick Garitty, MD, pursuant to 28 U.S.C. § 2679(d)(2) (“the

United States shall be substituted as the party defendant”).

      RESPECTFULLY SUBMITTED this 20th day of December, 2016, in

Anchorage, Alaska.

                                               KAREN L. LOEFFLER
                                               United States Attorney

                                               s/John A. Fonstad
                                               Assistant U.S. Attorney
                                               Attorney for Defendant


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CERTIFICATE OF SERVICE
I hereby certify that on December 20, 2016,
a copy of the foregoing was served via electronic mail on:

Margaret Simonian
Dillon & Findley, PC
1049 W. 5th Avenue, Suite 200
Anchorage, Alaska 99501
meg@dillonfindley.com
Counsel for Plaintiff

s/John A. Fonstad
Assistant United States Attorney




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